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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                         )
    PROPERTY CASUALTY INSURERS                           )
    ASSOCIATION OF AMERICA,                              )
                                                         )
                               Plaintiff,                )
                                                         )   No. 1:13-cv-08564
          v.                                             )
                                                         )   Judge Rebecca R. Pallmeyer
    BENJAMIN S. CARSON, SR., in his official             )
    capacity as Secretary of Housing and Urban           )
    Development, and the UNITED STATES                   )
    DEPARTMENT OF HOUSING AND URBAN                      )
    DEVELOPMENT,                                         )
                                                         )
                               Defendants.               )
                                                         )

                                    JOINT STATUS REPORT

         Plaintiff, Property Casualty Insurers Association of America (“PCI”) 1 and Defendants,

Secretary Benjamin Carson and the United States Department of Housing and Urban Development

(“HUD”), submit this joint status report pursuant to the Court’s November 19, 2019 minute entry,

continuing the stay in this case and directing the parties to file a joint status report on the expected

timing of further action by HUD and proposing next steps. ECF No. 191.

         PCI asserts a challenge under the Administrative Procedure Act to the application of HUD’s

Final Rule, entitled Implementation of the Fair Housing Act’s Discriminatory Effects Standard, 78


1
 Effective January 1, 2019, the American Insurance Association merged with and into PCI.
Effective February 5, 2019, PCI re-domesticated and changed its name to the American Property
Casualty Insurance Association.
                                                   1
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Fed. Reg. 11460 (Feb. 15, 2013) (A.R. 611) (“the Rule”), to risk-based pricing and underwriting of

homeowners, property, and hazard insurance. On June 20, 2018, HUD published an Advance

Notice of Proposed Rulemaking (“ANPRM”), inviting public comment on possible amendments

to the Rule, as well as on the 2016 supplement to HUD’s responses to certain insurance industry

comments made during the initial rulemaking. See Reconsideration of HUD’s Implementation of

the Fair Housing Act’s Disparate Impact Standard, 83 Fed. Reg. 28560 (June 20, 2018). Based

on its consideration of public comments, HUD published a Notice of Proposed Rulemaking

(“NPRM”) on August 19, 2019 that could affect the pending case. See HUD’s Implementation of

the Fair Housing Act’s Disparate Impact Standard, 84 Fed. Reg. 42854 (Aug. 19, 2019). The

NPRM provided for a public comment period, which closed on October 18, 2019. See id.

       HUD received 45,757 public comments in response to the NPRM.                           See

https://www.regulations.gov/docket?D=HUD-2019-0067. In light of HUD’s need to continue to

engage in the rulemaking process, including by carefully considering and addressing the numerous

public comments it received in response to the NPRM, the parties believe that this case should

continue to be stayed for 60 days, or until March 17, 2020, on which date the parties propose to

file a joint status report, updating the Court on the expected timing of any further action by HUD

and proposing any next steps in this case. The parties would plan to apprise the Court of any

substantive updates in the meantime as appropriate.



Dated: January 17, 2020                             Respectfully submitted,

 /s/ Brian M. Boynton
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 Jonathan G. Cedarbaum (pro hac vice)               Assistant Attorney General
 Brian M. Boynton (pro hac vice)                    Civil Division
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